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                                1   BUCHALTER
                                    A Professional Corporation
                                2   KEVIN T. COLLINS (SBN: 185427)
                                    ALISSA R. PLEAU-FULLER (SBN: 258907)
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                                5   apleaufuller@buchalter.com

                                6   Attorneys for Defendants
                                    ONE TOUCH DIRECT, LLC, and
                                7   ONETOUCH DIRECT- SAN ANTONIO LLC

                                8
                                                                  UNITED STATES DISTRICT COURT
                                9
                                                                 NORTHERN DISTRICT OF CALIFORNIA
                           10
                                    ROBERT ROSS,                                  Case No. 4:19-cv-6669-JST
                           11
                                                    Plaintiff,                    DECLARATION OF ALISSA R. PLEAU-
                           12                                                     FULLER IN SUPPORT OF JOINT
                                            vs.                                   STIPULATION AND REQUEST TO
                           13                                                     CONTINUE TRIAL AND OTHER
                                    AT&T MOBILITY, LLC, ONE TOUCH                 RELATED DATES IN THE SCHEDULING
                           14       DIRECT, LLC, and ONE TOUCH DIRECT-            ORDER; AND [PROPOSED] ORDER
                                    SAN ANTONIO, LLC,
                           15                                                     CURRENT TRIAL DATE: November 29,
                                                    Defendant.                    2021
                           16                                                     REQUESTED TRIAL DATE: February 28,
                                                                                  2022
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      BUCHALTER                      PLEAU-FULLER DECLARATION ISO JOINT
A PROFES SION AL CORPORAT ION
                                                                                                      Case No. 4:19-cv-6669-JST
        SACR AMENTO                  STIPULATION TO CONTINUE DATES IN THE
                                     SCHEDULING ORDER
                                    BN 44102816v3
                                      Case 4:19-cv-06669-JST Document 84-1 Filed 02/08/21 Page 2 of 2



                                1            I, Alissa R. Pleau-Fuller, declare:
                                2            1.     I am an attorney at law duly licensed to practice in the Northern District of
                                3   California and am an attorney with the law firm of Buchalter, A Professional Corporation
                                4   (“Buchalter”). Buchalter is the attorney of record for Defendants One Touch Direct, LLC and
                                5   OneTouch Direct – San Antonio LLC (“OTD Defendants”). I have personal knowledge of the
                                6   facts set forth in this declaration, and if called as a witness, could testify competently to those
                                7   facts.
                                8            2.     The OTD Defendants were just recently served with the First Amended Complaint
                                9   and brought into the case in December 2020. The current October 2021 trial, the close of
                           10       discovery and other related dates are fast-approaching and do not provide the OTD Defendants
                           11       with adequate time to conduct discovery and prepare for trial.
                           12                3.     Good cause exists to continue the trial and related dates as the OTD Defendants, as
                           13       well as myself and Kevin Collins as counsel of record for the OTD Defendants, have not had an
                           14       opportunity to fully evaluate the OTD Defendants’ defenses in the case and will need to conduct
                           15       discovery. This will require more time and a continuance of at least 90 days as to the various
                           16       Scheduling Order dates.
                           17                I declare under penalty of perjury of the laws of the United States of America that the
                           18       following is true and correct and that this Declaration was executed on February 8, 2021, at
                           19       Davis, California.
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                                                                                                 ALISSA R. PLEAU-FULLER
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      BUCHALTER                      PLEAU-FULLER DECLARATION ISO JOINT
A PROFES SION AL CORPORAT ION
                                                                                                                    Case No. 4:19-cv-6669-JST
        SACR AMENTO                  STIPULATION TO CONTINUE DATES IN THE
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